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                                           UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF OREGON

 UNITED STATES OF AMERICA                                                                                    ORDER SETTING CONDITIONS
              v.                                                                                                           OF RELEASE

 Rico Anthony Russell Rigutto                                                                                  Case Number: 3:22CR00015-BR-1

IT IS ORDERED that the release of the defendant is subject to the following conditions:

(1)       The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

(2)       The defendant must cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C § 14135a.

(3)       The defendant shall immediately advise the court through Pretrial Services or defense counsel in writing of any change in
          address and telephone number.

(4)       The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as directed.
          The defendant shall next appear as directed by U.S. District Court.

                                                        Additional Conditions of Release

IT IS FURTHER ORDERED that the defendant be released provided that the defendant:
        • Report as directed by the U.S. Pretrial Services Office.
        • Do not change place of residence without the prior approval of U.S. Pretrial Services.
        • Participate in drug/alcohol assessment and undergo counseling as directed by U.S. Pretrial Services.
        • Neither own, possess, nor control any firearm (or any weapon).
        • Participate in one of the following location restriction programs and comply with its requirements as directed.
           ( ) Curfew. You are restricted to your residence every day (      ) from ________ to ________, or (       ) as directed by the
           pretrial services office or supervising officer; or
           (x) Home Detention. You are restricted to your residence at all times except for employment; education; religious
           services; medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
           obligations; or other activities approved in advance by the pretrial services office or supervising officer;
           ( ) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities
           and court appearances or other activities specifically approved by the court.
           ( ) Stand Alone Monitoring. You have no residential curfew restrictions. However, you must comply with the location
           or travel restrictions as imposed by the court. Note: This component should be used in conjunctions with global
           positioning system (GPS) technology.
        • Submit to the following location monitoring technology and comply with its requirements as directed.
           ( ) Location monitoring technology as directed by the pretrial services or supervising officer
           ( ) Voice Recognition
           ( ) Radio Frequency (RF)
           (x) GPS
        • Pay all or part of the cost of location monitoring based on your ability to pay as determined by the pretrial services or
           supervising officer.
        • The defendant is to pay a percentage of all fees for services obtained while under Pretrial Services Supervision.
        • The defendant shall participate in pretrial services interview within 48 hours of his release from custody.

                                                        Advice of Penalties and Sanctions

TO THE DEFENDANT:

          YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

           A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation of
release, an order of detention, forfeiture of bond, and a prosecution for contempt of court and could result in a term of imprisonment, a fine, or both.

          The commission of any crime while on pre-trial release may result in an additional sentence to a term of imprisonment of not more than ten

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years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a misdemeanor. This sentence shall be in addition
to any other sentence.

          Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to intimidate or attempt to intimidate
a witness, victim, juror, informant or officer of the court, or to obstruct a criminal investigation. It is also a crime punishable by up to ten years of
imprisonment, a $250,000 fine or both, to tamper with a witness, victim or informant, or to retaliate against a witness, victim or informant, or to threaten
or attempt to do so.

         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence, you may be
prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1)       an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined not more than
          $250,000 or imprisoned for no more than ten years, or both;

(2)       an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not more than $250,000
          or imprisoned for no more than five years, or both;

(3)       any other felony, you shall be fined not more than $250,000 or imprisoned no more than two years, or both;

(4)       a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both;

           A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In addition, a
failure to appear may result in the forfeiture of any bond posted.

                                                            Acknowledgment of Defendant

           I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions of
release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                                            Signature of Defendant



                                                                                                               City, State & Zip

Special Needs Finding:
Based upon the above conditions, including the conditions relating to:
☐       Alcohol detection
☐       Drug detection
☐       Computer monitoring
The Court is reasonably assured the defendant will appear as directed and not pose a danger to the community or any other person.

Directions to the United States Marshal
☐       The defendant is ORDERED released after processing.
☐       The defendant is ORDERED temporarily released.
☒       The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk, Pretrial Services or
        judicial officer that the defendant has posted bond and/or complied with all other conditions for release including space
        availability at a community corrections center or residential treatment facility. If still in custody, the defendant shall be
        produced before the duty Magistrate Judge on                                       at                               .


Date: __________________
      08/18/2022



                                                                                                      Signature of Judicial Officer
                                                                                                            Jolie A. Russo
                                                                                                          U.S. Magistrate Judge
                                                                                                   Name and Title of Judicial Officer


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